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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA

v. CASE NO. 3:19-cr -~ I--j- SQPU

JOHN R. NETTLETON '
O.R D E R

The Motion to Seal Indictrnent and Related Documents filed by the
United States is hereby GRANTED, and the Clerk of Court is so directed

The Clerk is further directed to seal the Indictment in this cause except
when necessary to provide certified copies of the Indictment to the United
States Departrnent of Justice Public Integrity Section;

It is further ordered that upon verbal request from the Departrnent of
Justice Public Integrity Section that the United States Marshals Service is to
release a certified copy of the arrest Warrant to the case agent or other
appropriate law enforcement and/ or to the United States Department of
Justice Public Integrity Section Without further order of the Court. lt is
further ordered that the United States Marshals Service or other appropriate
law enforcement agency may enter the arrest Warrant into the National Crime

lnformation Center (NCIC) database or other appropriate law enforcement

database Without further order of the Court.

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lt is further ordered that the United States may disclose the existence of
the Indictrnent in any search and seizure Warrants to be executed in
conjunction with the arrest of the defendant(s).

The_Clerk is further ordered to unseal all documents relating to the
Indictrnent Without any further Order of the Court When any named
defendant is taken into custody

DONE AND ORDERED at Jacksonvi]le, Florida, this 3 H` day of

January, 2019.

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Un ed States Magistrate Judge

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